Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 1 of 6 PageID 6168




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                             CASE NO: 3:18-cr-115-J-34JBT

 JAMAAL ABU TALIB HAMEEN                        ORDER ON MOTION FOR
                                                SENTENCE REDUCTION UNDER
                                                18 U.S.C. § 3582(c)(1)(A)


                                        ORDER

         Upon motion of     the defendant     the Director of the Bureau of Prisons for a

 reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the factors

 identified in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

 Sentencing Commission,

 IT IS ORDERED that the motion is:

      DENIED after complete review of the motion on the merits.

            FACTORS CONSIDERED

         Defendant Jamaal Abu Talib Hameen is a 60-year-old inmate incarcerated at

 Jesup FCI, serving a 180-month term of imprisonment for possession of a firearm by an

 armed career criminal. (Doc. 457, Amended Judgment). According to the Bureau of

 Prisons (BOP), he is scheduled to be released from prison on November 19, 2030.

 Hameen seeks compassionate release because of the Covid-19 pandemic and because

 he suffers from hypertension, angina, obesity (as measured by a Body Mass Index [BMI]

 of 35), anxiety, and post-traumatic stress disorder, and because he has had three open
Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 2 of 6 PageID 6169




 heart surgeries to address cardiac myxoma – a type of benign tumor of the heart. 1 In his

 initial pro se Emergency Motion for Compassionate Release, Hameen also stated that he

 has mild asthma and a compromised immune system. (Doc. 521, Pro Se Motion).

 However, in his counseled Supplemental Motion for Compassionate Release, Hameen

 does not assert those two conditions. (Doc. 528, Supplemental Motion). 2

        Preliminarily, the Court must determine whether it has jurisdiction over the Motion

 for Compassionate Release. Hameen has filed a notice of appeal from his conviction and

 sentence, and the appeal remains pending. See United States v. Jamaal Abu Talib

 Hameen, No. 19–14279–EE (11th Cir.). Ordinarily, the filing of a notice of appeal divests

 the district court of jurisdiction “over the aspects of the case involved in the

 appeal.” United States v. Diveroli, 729 F.3d 1339, 1341 (11th Cir. 2013). However, Rule

 37 of the Federal Rules of Criminal Procedure (“Rule(s)”) gives a district court authority

 to issue limited types rulings on a motion despite a pending appeal. Under that Rule,

        If a timely motion is made for relief that the court lacks authority to grant
        because of an appeal that has been docketed and is pending, the court
        may:

               (1) defer considering the motion;

               (2) deny the motion; or

               (3) state either that it would grant the motion if the court of
               appeals remands for that purpose or that the motion raises a
               substantial issue.


 1
        https://my.clevelandclinic.org/health/diseases/16840-cardiac-tumors.
 2      After the Court extended the appointment of the Federal Public Defender to encompass
 Hameen’s request for compassionate release, Hameen filed a pro se “Supplemental Corrected
 Reply in Support of Motion for an Indicative Ruling on Compassionate Release.” (Doc. 534). The
 pro se supplement is due to be stricken because Hameen is represented by counsel and he did
 not obtain leave of Court to file the pro se supplement. See Rule 2.03(d), Local Rules, United
 States District Court for the Middle District of Florida.


                                               2
Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 3 of 6 PageID 6170




 Fed. R. Crim. P. 37(a).

          The United States argues that the Motion is not “timely,” and thus that the Court

 lacks jurisdiction, because Hameen has not exhausted his administrative remedies under

 18 U.S.C. § 3582(c)(1)(A). (Doc. 531, Response at 3-6). The Court disagrees. Neither

 party disputes that Hameen submitted a request for compassionate release to the warden

 of his facility on April 16, 2020, and that the warden denied the request on April 20, 2020.

 (See Doc. 521-2). Hameen filed his pro se Emergency Motion for Compassionate

 Release on or around July 15, 2020, well over 30 days after he submitted the request to

 the warden. As the United States conceded in United States v. Ruvel Smith, –– F. Supp.

 3d ––, 2020 WL 5106694, at *3–4, (M.D. Fla. Aug. 31, 2020), and the Court independently

 determined, a defendant fulfills the compassionate release statute’s 30-day exhaustion

 alternative when he submits a request for compassionate release to the warden of his

 facility and waits at least 30 days to file a motion for compassionate release. Because

 Hameen has satisfied that requirement, his Motion is “timely” under Rule 37 and the Court

 has jurisdiction to defer consideration, deny the Motion, or indicate that the Motion has

 merit.

          A movant for compassionate release bears the burden of proving that a reduction

 in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-33SPF, 2019 WL

 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v. Hamilton, 715 F.3d 328, 337

 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the burden of proving that a sentence

 reduction is appropriate). As the Third Circuit Court of Appeals has observed, the mere

 existence of Covid-19 cannot independently justify compassionate release, “especially

 considering BOP's statutory role, and its extensive and professional efforts to curtail the




                                              3
Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 4 of 6 PageID 6171




 virus's spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

       The Court assumes, for the sake of discussion, that Hameen’s medical conditions,

 together with Covid-19, qualify in the aggregate as a serious medical or physical condition

 under U.S.S.G. § 1B1.13, cmt. 1(A)(ii), even if each condition might not qualify as such

 individually. Thus, the Court assumes that Hameen’s condition renders him eligible for

 compassionate release.

       That said, the Court expresses skepticism with regard to Hameen’s dire prediction

 that continued incarceration would amount to a death sentence. Supplemental Motion at

 2. Notably, the evidence does not reflect that Jesup FCI has failed to protect the lives of

 its inmates. According to the BOP’s latest data, two inmates and 19 staff members are

 currently positive for coronavirus, and 244 inmates and three staff members have

 recovered. 3 Although it is possible that more inmates have been infected than is reported,

 only a single inmate (out of 1,346 total) has died from coronavirus. Thus, the data

 suggests that Jesup FCI is capable of securing the safety of those in its custody.

       In any event, the sentencing factors under 18 U.S.C. § 3553(a) do not support a

 reduction in sentence. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. Hameen was

 charged with, and convicted of, possession of a firearm by an armed career criminal. (See

 Doc. 454, Revised Presentence Investigation Report [Revised PSR] at ¶¶ 5-7). On

 February 7, 2018, two officers with the Jacksonville Sheriff’s Office were on patrol when

 a motel manager waved them down. The officers stopped and found Hameen in a verbal

 altercation with the manager. The officers encouraged Hameen to leave, but when



 3
        https://www.bop.gov/coronavirus/. Last accessed on October 14, 2020. These numbers
 are updated daily.


                                             4
Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 5 of 6 PageID 6172




 Hameen refused to do so, the officers began to place him under arrest. As one of the

 officers was arresting him, a .380 caliber pistol fell out of Hameen’s coat. The officers also

 found baggies of heroin, powder cocaine, fentanyl, and methamphetamine on Hameen

 during the arrest. Before this case, Hameen had 15 felony convictions, including charges

 of carrying a concealed firearm, aggravated assault, grand theft, possession of cocaine

 (several times), battery on a law enforcement officer, sale or delivery of cocaine, felony

 battery, sale, manufacture, or delivery of cannabis, possession of heroin, and sale or

 delivery of heroin. Id. at ¶ 2. In addition to these felony convictions, Hameen also had four

 convictions for domestic battery. Id. at ¶¶ 35, 46, 48, 64. Unfortunately, Hameen’s criminal

 activity has been virtually unrelenting since 1982. See id. at ¶¶ 23-79.

        Because of his prior convictions, Hameen was subject to an enhanced sentence

 under the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e). Although the United

 States Sentencing Guidelines recommended a sentence of 262 to 327 months in prison,

 the Court varied downward significantly and imposed the mandatory minimum sentence

 of 180 months in prison. See Amended Judgment; (see also Doc. 453, Statement of

 Reasons). So far, Hameen has served only 32 months of his mandatory minimum

 sentence. The Court recognizes that much of Hameen’s criminal history was related to

 struggles with mental health and drug addiction. Nevertheless, in this Court’s view, and

 in view of all the § 3553(a) factors, reducing Hameen’s sentence at this time would not

 be consistent with the Sentencing Commission’s policy statements or the statutory

 purposes of sentencing, including the need to protect the public, promote respect for the

 law, and to afford adequate deterrence. See United States v. Pawlowski, 967 F.3d 327,

 330-31 (3d Cir. 2020) (affirming district court’s denial of compassionate release based on




                                               5
Case 3:18-cr-00115-MMH-JBT Document 535 Filed 10/19/20 Page 6 of 6 PageID 6173




 the § 3553(a) factors where defendant had served only a small fraction of his 15-year

 prison sentence, even though defendant had only one lung and suffered from

 hypertensive heart disease, COPD, and sleep apnea); United States v. Chambliss, 948

 F.3d 691, 694 (5th Cir. 2020) (holding that a district court did not abuse its discretion in

 denying compassionate release based, in part, on the defendant having served only 14

 years of a 30-year sentence).

         Accordingly, Defendant Jamaal Abu Talib Hameen’s Pro Se Emergency Motion

 for Compassionate Release (Doc. 521) and counseled Supplemental Motion for

 Compassionate Release (Doc. 528) are DENIED. 4

         DONE AND ORDERED at Jacksonville, Florida this 16th day of October, 2020.




 lc 19

 Copies:
 Counsel of record
 Defendant
 Clerk of Court, United States Court of Appeals for the Eleventh Circuit




 4
        To the extent Defendant requests that the Court order home confinement, the Court
 cannot grant that request because the Attorney General has exclusive jurisdiction to decide which
 prisoners to place in the home confinement program. See United States v. Alvarez, No. 19-cr-
 20343-BLOOM, 2020 WL 2572519, at *2 (S.D. Fla. May 21, 2020); United States v. Calderon,
 801 F. App’x 730, 731-32 (11th Cir. 2020) (a district court lacks jurisdiction to grant a request for
 home confinement under the Second Chance Act).


                                                  6
